Case 1:19-cv-20142-RMB-AMD Document 38-3 Filed 08/07/20 Page 1 of 15 PageID: 195




  Patrick D. Bonner Jr.
  MENZ BONNER KOMAR & KOENIGSBERG LLP
  One North Lexington Avenue, Suite 1550
  White Plains, New York 10601
  Tel.: (914) 949-0222/ Fax: (914) 997-4117
  Attorneys for Plaintiff Sentinel Insurance Company

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY
                                   CAMDEN VICINAGE

  SENTINEL INSURANCE COMPANY, LTD.,
                                                       Civil Action No. 19-cv-20142-RMB-AMD
        Plaintiff,

               -vs-

  CONRAD J. BENEDETTO, individually and doing               [Document Electronically Filed]
  business as THE LAW OFFICES OF CONRAD J.
  BENEDETTO, and JOHN GROFF,

       Defendants.
  CONRAD J. BENEDETTO, THE LAW
  OFFICES OF CONRAD J. BENEDETTO, and
  JOHN GROFF,

        Plaintiffs,

               -vs-

  SENTINEL INSURANCE COMPANY, LTD.,
  JOHN DOES and ABC ENTITIES A-Z,

        Defendants.

           PLAINTIFF SENTINEL INSURANCE COMPANY’S STATEMENT OF
              MATERIAL FACTS PURSUANT TO LOCAL RULE 56.1(a) IN
               SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT
Case 1:19-cv-20142-RMB-AMD Document 38-3 Filed 08/07/20 Page 2 of 15 PageID: 196




                 Plaintiff Sentinel Insurance Company, Ltd. (“Sentinel” or “Plaintiff”) hereby

  submits this statement pursuant to Local Rule 56.1(a) of the Local Rules of the United States

  District Court for the District of New Jersey, to set forth the material facts as to which it

  contends there are no genuine issue to be tried:

  A.     THE PARTIES TO THIS COVERAGE ACTION

                 1.      Plaintiff Sentinel Insurance Company, Ltd. is a foreign corporation

  organized under the laws of the State of Connecticut, with its principal place of business in

  Hartford, Connecticut. (Bonner Dec. Ex. A ¶ 3).

                 2.      Conrad J. Benedetto is an individual and attorney at law admitted to

  practice in the State of New Jersey who is doing business as and/or is the sole owner and

  principal of the Benedetto Firm, and is a citizen of the State of Pennsylvania. (Bonner Dec. Ex.

  G ¶¶ 4, 5).

                 3.      The Law Offices of Conrad J. Benedetto is a law firm with locations in

  New Jersey and Pennsylvania. (Bonner Dec. Ex. Ex. G ¶ 5).

                 4.      Mr. Groff is an individual formerly employed as the office manager of the

  Benedetto Firm and a citizen of New Jersey. (Bonner Dec. Ex. Ex. A ¶ 6; Ex. G ¶ 6).

  B.     THE UNDERLYING ACTIONS

                 5.      This coverage action relates to two underlying lawsuits filed in the

  Superior Court of the State of New Jersey captioned Brian Nunez v. The Law Offices of Conrad

  J. Benedetto, et al., Case No. CAM-L-003997-18 (N.J. Super. Ct., Camden Co.) (“Nunez

  Action”), and John Doe v. The Law Offices of Conrad J. Benedetto, et al., Case No. CAM-L-

  004588-18 (N.J. Super. Ct., Camden Co.) (“Nava Action”). 1 (Hartley Dec. Exs. F and G; Bonner


         1
          The Underlying Action by Javier Nava was originally filed anonymously by him as
  “John Doe” and is now captioned Javier Nava v. The Law Offices of Conrad J. Benedetto, et al.


                                                     2
Case 1:19-cv-20142-RMB-AMD Document 38-3 Filed 08/07/20 Page 3 of 15 PageID: 197




  Dec. Ex. A ¶ 1; Bonner Dec. Ex. C ¶ 1).

                 6.     Defendants herein are named as defendants in the Underlying Actions.

  (Hartley Dec. Exs. F and G).

                 7.     Both the Nunez Action and the Nava Action seek to recover damages and

  other relief for sexual harassment and discrimination due to gender under the New Jersey Law

  Against Discrimination (“NJLAD”), retaliation/improper reprisal under NJLAD, violations of

  the New Jersey Consumer Fraud Act, negligent hiring, negligent retention, negligent training,

  negligent supervision, negligence, and gross negligence. (Hartley Dec. Exs. F and G).

                 8.     Both the Nunez Action and the Nava Action seek reinstatement of

  employment and benefits, back pay and benefits, front pay and benefits, reinstatement, equitable

  relief, as well as compensatory and punitive damages, lost wages, and attorneys’ fees and costs.

  (Hartley Dec. Exs. F and G Counts Two and Three at Wherefore Clauses).

                 9.     While the Complaints in both the Nunez Action and the Nava Action

  allege and seek damages for emotional distress, neither alleges or seeks damages for any bodily

  injuries or physical manifestations of symptoms. (Hartley Dec. Exs. F and G).

  THE NUNEZ ACTION

                 10.    The Nunez Action alleges that defendant John Groff (“Groff”) solicited

  plaintiff Nunez to be a client of the Benedetto Firm and Benedetto following the June 12, 2016

  Pulse Nightclub shooting in Florida. (Hartley Dec. Ex. F, ¶¶ 13-16).

                 11.    The Nunez Action alleges that plaintiff Nunez retained the Benedetto Firm

  and Benedetto to represent his interests in connection with damages stemming from the Pule

  Nightclub shooting. (Id. ¶ 17).

                 12.    The Nunez Action alleges that soon after plaintiff Nunez retained the




                                                  3
Case 1:19-cv-20142-RMB-AMD Document 38-3 Filed 08/07/20 Page 4 of 15 PageID: 198




  Benedetto Firm and Benedetto, Groff began texting Nunez for purposes unrelated to his case and

  to groom Nunez for Groff’s sexual harassment. (Id. ¶ 20).

                 13.     The Nunez Action alleges that following the October 1, 2017 Route 91

  Harvest Music Festival showing in Las Vegas, Nevada, Defendants used Nunez to recruit

  victims of the Las Vegas shooting, including convincing Nunez to travel to Nevada and

  California to speak to other shooting survivors to convince them to retain the Benedetto Firm and

  Benedetto. (Id. ¶¶ 22-24).

                 14.     The Nunez Action alleges that Groff represented to Nunez that Groff, the

  Benedetto Firm and Benedetto would pay for lodging, transportation and food expenses. (Id. ¶

  25).

                 15.     The Nunez Action alleges that Groff treated Nunez like and employee,

  including pressuring Nunez to record a promotional video. (Id. ¶¶ 28, 29).

                 16.     The Nunez Action alleges that Groff began flirting with and sexually

  harassing Nunez and when Nunez rebuked the advances, Groff threatened to withhold money for

  lodging, transportation and food. (Id. ¶¶ 32, 33).

                 17.     The Nunez Action alleges that Groff repeatedly demanded sexual favors

  and retaliated when Nunez rejected him. (Id. ¶ 41).

                 18.     The Nunez Action alleges that Groff sent Nunez sexually explicit texts to

  entice him into a sexual relationship and frequently discussed getting Nunez drunk so he could

  force himself sexually upon Nunez. (Id. ¶¶ 42-46).

                 19.     The Nunez Action alleges that Groff had a history of criminal conduct,

  fraudulent behavior, unlawful intimidation, sexual harassment and retaliation of which Benedetto

  and the Benedetto Firm were aware, including a prior lawsuit alleging such. (Id. ¶¶ 50-59; Ex.




                                                       4
Case 1:19-cv-20142-RMB-AMD Document 38-3 Filed 08/07/20 Page 5 of 15 PageID: 199




  A).

  THE NAVA ACTION

                 20.     The Nava Action seeks to recover to recover damages and other relief for

  sexual harassment and discrimination under NJLAD, sexual harassment and discrimination due

  to sexual orientation, retaliation/improper reprisal under NJLAD, violations of the New Jersey

  Consumer Fraud Act, negligent hiring, negligent retention, negligent training, negligent

  supervision, negligence, and gross negligence. (Hartley Dec. Ex. G).

                 21.     The Nava Action also seeks to recover compensatory and punitive

  damages, lost wages, and attorneys’ fees and costs. (Id. ¶ 12).

                 22.     The Nava Action alleges that Groff solicited plaintiff Doe to be a client of

  the Benedetto Firm and Benedetto following the June 12, 2016 Pulse Nightclub shooting in

  Florida. (Id. ¶¶ 14-17).

                 23.     The Nava Action alleges that plaintiff retained the Benedetto Firm and

  Benedetto to represent his interests in connection with damages stemming from the Pule

  Nightclub shooting. (Id. ¶ 18).

                 24.     The Nava Action alleges that soon after the plaintiff in the Nava Action

  retained the Benedetto Firm and Benedetto, Groff began texting Nunez for purposes unrelated to

  his case and to groom Nunez for Groff’s sexual harassment. (Id. ¶ 22).

                 25.     The Nava Action alleges that following the October 1, 2017 Route 91

  Harvest Music Festival shooting in Las Vegas, Nevada, Defendants used plaintiff in the Nava

  Action to recruit victims of the Las Vegas shooting, including convincing plaintiff to travel to

  Nevada and California to speak to other shooting survivors to convince them to retain the

  Benedetto Firm and Benedetto. (Id. ¶¶ 24-26).




                                                   5
Case 1:19-cv-20142-RMB-AMD Document 38-3 Filed 08/07/20 Page 6 of 15 PageID: 200




                 26.     The Nava Action alleges that Groff represented to the plaintiff in the Nava

  Action that Groff, the Benedetto Firm and Benedetto would pay for lodging, transportation and

  food expenses. (Id. ¶ 27).

                 27.     The Nava Action alleges that Groff treated plaintiff in the Nava Action

  like and employee, including pressuring plaintiff to record a promotional video. (Id. ¶¶ 30, 31).

                 28.     The Nava Action alleges that Groff began flirting with and sexually

  harassing the plaintiff in the Nava Action and when plaintiff rebuked the advances, Groff

  threatened to withhold money for lodging, transportation and food. (Id. ¶¶ 33, 34).

                 29.     The Nava Action alleges that Groff repeatedly demanded sexual favors

  and retaliated when the plaintiff in the Nava Action rejected him. (Id. ¶ 37).

                 30.     The Nava Action alleges that Groff sent the plaintiff in the Nava Action

  sexually explicit texts to entice him into a sexual relationship and frequently discussed getting

  plaintiff drunk so he could force himself sexually upon plaintiff (Id. ¶¶ 44-70).

                 31.     The Nava Action alleges that Groff had a history of criminal conduct,

  fraudulent behavior, unlawful intimidation, sexual harassment and retaliation of which Benedetto

  and the Benedetto Firm were aware, including a prior lawsuit alleging such. (Id. ¶¶ 72-73; Ex.

  A).

  C.     THE POLICIES

                 32.     Sentinel issued primary general liability policy 38 SBA BX9035 to

  Conrad Benedetto dba The Law Offices of Conrad J. Benedetto for the period October 12, 2015

  to October 12, 2016. (Hartley Dec. Ex. A).

                 33.     Sentinel issued primary general liability policy 38 SBA BX9035 to

  Conrad Benedetto dba The Law Offices of Conrad J. Benedetto for the period October 12, 2016




                                                   6
Case 1:19-cv-20142-RMB-AMD Document 38-3 Filed 08/07/20 Page 7 of 15 PageID: 201




  to October 12, 2017. (Id. Ex. B).

                 34.     Sentinel issued Sentinel’s primary general liability policy 38 SBA

  BX9035 to Conrad Benedetto dba The Law Offices of Conrad J. Benedetto for the period

  October 12, 2017 to October 12, 2018. (Id. Ex. C).

                 35.     Sentinel issued primary general liability policy 38 SBA BX9035 to

  Conrad Benedetto dba The Law Offices of Conrad J. Benedetto for the period October 12, 2018

  to October 12, 2019. (Id. Ex. D).

                 36.     Sentinel issued primary general liability policy 38 SBA BX9035 to

  Conrad Benedetto dba The Law Offices of Conrad J. Benedetto for the period October 12, 2019

  to October 12, 2020.2 (Id. Ex. E).

                 37.     The declaration pages in the Sentinel Policies provide the “Description of

  Business” as “Lawyers & Law Firms.” (Hartley Dec. Ex. A-E at Form SS 00 02 12 06).

                 38.     The Sentinel Policies contain the following relevant policy provisions

  applicable to the business liability coverage part:

                           BUSINESS LIABILITY COVERAGE FORM

                                                  ***

  A.     COVERAGES
         1.  BUSINESS LIABILITY COVERAGE (BODILY INJURY, PROPERTY
             DAMAGE, PERSONAL AND ADVERTISING INJURY)

         Insuring Agreement
            a. We will pay those sums that the insured becomes legally obligated to pay
                as damages because of “bodily injury”, “property damage” or “personal and
                advertising injury” to which this insurance applies. We will have the right
                and duty to defend the insured against any “suit” seeking those damages.
                However, we will have no duty to defend the insured against any “suit”


         2
           The policies issued to Conrad Benedetto dba The Law Offices of Conrad J. Benedetto
  for the period October 12, 2015 to October 12, 2020 (are collectively referred to as the “Sentinel
  Policies.”


                                                    7
Case 1:19-cv-20142-RMB-AMD Document 38-3 Filed 08/07/20 Page 8 of 15 PageID: 202




                 seeking damages for “bodily injury”, “property damage” or “personal and
                 advertising injury” to which this insurance does not apply.

                 We may, at our discretion, investigate any “occurrence” or offense and
                 settle any claim or “suit” that may result.

                                                  ***

             b. This insurance applies:
                   (1) To “bodily injury” and “property damage” only if:
                          (a) The “bodily injury” or “property damage” is caused by an
                               “occurrence” that takes place in the “coverage territory”;
                          (b) The “bodily injury” or “property damage” occurs during the
                               policy period; and
                          (c) Prior to the policy period, no insured listed under Paragraph
                               1. of Section C. – Who Is An Insured and no “employee”
                               authorized by you to give or receive notice of an
                               “occurrence” or claim, knew that the “bodily injury” or
                               “property damage” had occurred, in whole or in part. If such
                               a listed insured or authorized “employee” knew, prior to the
                               policy period, that the “bodily injury” or “property damage”
                               occurred, then any continuation, change or resumption of
                               such “bodily injury” or “property damage” during or after
                               the policy period will be deemed to have been known prior
                               to the policy period.
                   (2) To “personal and advertising injury” caused by an offense arising
                       out of your business, but only if the offense was committed in the
                       “coverage territory” during the policy period.

             c. “Bodily injury” or “property damage” will be deemed to have been known
                to have occurred at the earliest time when any insured listed under
                Paragraph 1. of Section C. – Who Is An Insured or any “employee”
                authorized by you to give or receive notice of an “occurrence” or claim:
                    (1) Reports all, or any part, of the “bodily injury” or “property damage”
                        to us or any other insurer;
                    (2) Receives a written or verbal demand or claim for damages because
                        of the “bodily injury” or “property damage”; or
                    (3) Becomes aware by any other means that “bodily injury” or “property
                        damage” has occurred or has begun to occur.

  (Hartley Dec. Exs. A-E at Form SS 00 08 04 05 at pages 1-2 of 24).


                 39.     The Sentinel Policies also contain the following relevant policy provisions

  applicable to the business liability coverage part:



                                                    8
Case 1:19-cv-20142-RMB-AMD Document 38-3 Filed 08/07/20 Page 9 of 15 PageID: 203




  C.     WHO IS AN INSURED

         1.    If you are designated in the Declarations as:
            a. An individual, you and your spouse are insureds, but only with respect to the
               conduct of a business of which you are the sole owner.
               ...
         2.    Each of the following is also an insured:
            a. Employees And Volunteer Workers
               Your . . . “employees” . . . , but only for acts within the scope of their employment
               by you or while performing duties related to the conduct of your business…
               However, none of these “employees” . . . are insureds for:
               (1) “Bodily injury” or “personal and advertising injury”:
                   (a) To . . . a co-“employee” while in the course of his or her employment or
                   performing duties related to the conduct of your business, or to your other
                   “volunteer workers” while performing duties related to the conduct of your
                   business;

  (Hartley Dec. Exs. A-E at Form SS 00 08 04 05 at page 10 of 24).


                40.     The Business Liability Coverage Form includes the following definitions:

  G.     LIABILITY AND MEDICAL EXPENSES DEFINITIONS

                                                  ***
         5. “Bodily injury” means physical:
             a. Injury;
             b. Sickness; or
             c. Disease
             sustained by a person and, if arising out of the above, mental anguish or death
             at any time.

                                                ***

         8. “Employee” includes a “leased worker”. “Employee” does not include a
         “temporary worker”.

                                                ***

         13. “Leased worker” means a person leased to you by a labor leasing firm under an
         agreement between you and the labor leasing firm, to perform duties related to the
         conduct of your business. “Leased worker” does not include a “temporary worker”.

                                                ***

         16. “Occurrence” means an accident, including continuous or repeated exposure to
         substantially the same general harmful conditions.


                                                  9
Case 1:19-cv-20142-RMB-AMD Document 38-3 Filed 08/07/20 Page 10 of 15 PageID: 204




         17. “Personal and advertising injury” means injury, including consequential
         “bodily injury”, arising out of one or more of the following offenses:

             a. False arrest, detention or imprisonment;

             b. Malicious prosecution;

             c. The wrongful eviction from, wrongful entry into, or invasion of the right of
                private occupancy of a room, dwelling or premises that the person occupies,
                committed by or on behalf of its owner, landlord or lessor;

             d. Oral, written or electronic publication of material that slanders or libels a person
                or organization or disparages a person’s or organization's goods, products or
                services;

             e. Oral, written or electronic publication of material that violates a person’s right of
                privacy;

             f. Copying, in your “advertisement”, a person’s or organization’s “advertising idea”
                or style of “advertisement”;

             g.    Infringement of copyright, slogan, or title of any literary or artistic work, in your
                  “advertisement”;

             h. Discrimination or humiliation that results in injury to the feelings or
                reputation of a natural person.3

                                                   ***


         20. “Property damage” means:

             h. Physical injury to tangible property, including all resulting loss of use of
                that property. All such loss of use shall be deemed to occur at the time of
                the physical injury that caused it; or

             i. Loss of use of tangible property that is not physically injured. All such loss
                of use shall be deemed to occur at the time of “occurrence” that caused it.

                                                     ***



         3
          Section 17.h of this definition is deleted pursuant to the amendatory endorsement noted
  below. See Hartley Dec. Exs. A-E at Form SS 00 60 09 15 at page 2 of 2.


                                                    10
Case 1:19-cv-20142-RMB-AMD Document 38-3 Filed 08/07/20 Page 11 of 15 PageID: 205




         22. “Temporary worker” means a person who is furnished to you to substitute for a
         permanent “employee” on leave or to meet seasonal or short-term workload
         conditions.

         23. “Volunteer worker” means a person who:
               a. Is not your “employee”;
               b. Donates his or her work;
               c. Acts at the direction of and within the scope of duties determined by you;
                  and
               d. Is not paid a fee, salary or other compensation by you or anyone else for
                  their work performed for you.

  (Hartley Dec. Exs. A-E at Form SS 00 08 04 05 at pages 20-23 of 24).

                 41.     Section 17.h. of the Business Liability Coverage Form, shown above, is

  modified by Business Liability Coverage Form Amendatory Endorsement, as follows:

                          BUSINESS LIABILITY COVERAGE FORM
                             AMENDATORY ENDORSEMENT

                                                  ***

         F. Subparagraph 17.h. of Section G, Liability and Medical Expenses Definitions
         [is] deleted.

  (Hartley Dec. Exs. A-E at Form SS 00 60 09 15 at page 2 of 2).

                 42.     The Business Liability Coverage Form also contains the following

  exclusions applicable to the claims at issue:

  B.     EXCLUSIONS

         1.   Applicable To Business Liability Coverage

         This insurance does not apply to:

         a. Expected Or Intended Injury

                 (1) “Bodily injury” or “property damage” expected or intended from the
                 standpoint of the insured. . . .

                 (2) “Personal and advertising injury” arising out of an offense committed
                 by, at the direction of or with the consent or acquiescence of the insured
                 with the expectation of inflicting “personal and advertising injury”.



                                                  11
Case 1:19-cv-20142-RMB-AMD Document 38-3 Filed 08/07/20 Page 12 of 15 PageID: 206




                                                 ***
         e. Employer’s Liability
                “Bodily injury” to:
                (1) An “employee” of the insured arising out of and in the course of:
                          (a) Employment by the insured; or
                          (b) Performing duties related to the conduct of the insured’s
                               business . . . .

                                                       ***

                    This exclusion applies:
                  (1) Whether the insured may be liable as an employer or in any other
                      capacity; and
                  (2) To any obligation to share damages with or repay someone else who
                      must pay damages because of that injury.

                                                 ***

         r. Employment-Related Practices 4
                “Bodily injury” or “personal and advertising injury” to:
                (1) A person arising out of any:
                      (a) Refusal to employ that person;
                      (b) Termination of that person’s employment; or
                      (c) Employment-related practices, policies, acts or omissions, such
                           as coercion, demotion, evaluation, reassignment, discipline,
                           defamation, harassment, humiliation or discrimination directed
                           at that person;

                                                 ***

                    This exclusion applies:
                  (1) Whether the insured may be liable as an employer or in any other
                      capacity; and
                  (2) To any obligation to share damages with or repay someone else who
                      must pay damages because of that injury.

  (Hartley Dec. Exs. A-E at Form SS 00 08 04 05 at page 9 of 24).

                  43.    The Business Liability Coverage Form Amendatory Endorsement modifies

  the foregoing exclusion as follows:

         B. Subparagraph 1.r. of Section B. Exclusions is deleted and replaced with the
         following:

         4
             This subparagraph was replaced, as noted below.


                                                  12
Case 1:19-cv-20142-RMB-AMD Document 38-3 Filed 08/07/20 Page 13 of 15 PageID: 207




                 r. Employment-Related Practices
                 “Personal and advertising injury” to:
                 (1) A person arising out of any “employment-related practices”;

                                                  ***

                       This exclusion applies:
                         (a) Whether the injury-causing event described in the definition of
                              “employment-related practices” occurs before employment,
                              during employment or after employment of that person;
                         (b) Whether the insured may be liable as an employer or in any
                              other capacity; and
                         (c) To any obligation to share damages with or replay someone
                              else who must pay damages because of the injury.

  (Hartley Dec. Exs. A-E at Form SS 00 60 09 15 at pages 1-2 of 2).

  D.     PROCEDURAL HISTORY

                 44.      On November 13, 2019, Sentinel commenced this action by filing its

  Complaint seeking a declaratory judgment that Sentinel has no duty to defend or indemnify

  Defendants in connection with the Underlying Actions. (Bonner Dec. Ex. A).

                 45.      Sentinel’s action was assigned civil action no. 19-cv-20142. (Id.).

                 46.      Defendants agreed to waive service of process and Attorney Anthony

  Scordo on behalf of the Optimum Law Group, P.C. executed Waivers of Summons on behalf of

  all Defendants. (Bonner Dec. Ex. B).

                 47.      On December 14, 2019, Defendants filed an action against Sentinel in the

  Superior Court of the State of New Jersey, Law Division, Burlington County. (Bonner Dec. Ex.

  C).

                 48.      Defendants’ complaint seeks a declaration that Sentinel has a duty to

  defend and indemnify Defendants in connection with the Underlying Actions and also included

  causes of action seeking damages for breach of contract and bad faith. (Id.).

                 49.      On January 15, 2020, Sentinel removed Defendants’ action to this Court



                                                   13
Case 1:19-cv-20142-RMB-AMD Document 38-3 Filed 08/07/20 Page 14 of 15 PageID: 208




  and it was assigned civil action no. 20-cv-483. (Bonner Dec. Ex. D).

                  50.    On January 22, 2020, Sentinel filed its Answer and Separate Defenses to

  Defendants’ action. (Bonner Dec. Ex. E).

                  51.    The parties subsequently appeared at in initial conference on February 18,

  2020, and Sentinel’s unopposed oral application to consolidate the cases was granted and the

  cases were consolidated for all purposes under civil action no. 19-cv-20142. (Bonner Dec. Ex.

  F).

                  52.    On June 23, 2020, defendants Conrad J. Benedetto, The Law Offices of

  Conrad J. Benedetto filed an Answer. (Bonner Dec. Ex. G).

                  53.    On June 5, 2020, Mr. Groff filed a motion to dismiss that was

  administratively terminated for Mr. Groff’s failure to submit a pre-motion letter. (ECF Nos. 25,

  26, 28).

                  54.    Subsequently the parties submitted pre-motion letters and a Zoom video

  conference was scheduled for July 8, 2020. (ECF Nos. 29, 31, 32, 33).

                  55.    Counsel for Mr. Groff failed to appear at that conference and the Court

  issued a text order requiring all pleadings and dispositive motions to be filed within 30 days.

  (ECF No. 36).




                                                   14
Case 1:19-cv-20142-RMB-AMD Document 38-3 Filed 08/07/20 Page 15 of 15 PageID: 209




  Dated: White Plains, New York
         August 7, 2020
                                  MENZ BONNER KOMAR & KOENIGSBERG LLP


                                  By:    /s/ Patrick D. Bonner
                                         Patrick D. Bonner, Jr.
                                         (pbonner@mbkklaw.com)

                                  One North Lexington Avenue, Suite 1550
                                  White Plains, New York 10601
                                  Tel.: (914) 949-0222

                                  Attorneys for Plaintiff Sentinel Insurance Company, Ltd.




                                            15
